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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                       Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


      DEFENDANTS’ SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO
           PROPOSED INTERVENORS’ MOTION TO INTERVENE
        Defendants respectfully submit this supplemental brief pursuant to the Court’s Minute Order

of December 8, 2022, and request that the Court rule on the motion by December 15, 2022, in light

of developments in the Court of Appeals.

        Nineteen States (“Proposed Intervenors”) sought to intervene in this litigation that began

more than twenty-two months ago, after first choosing to initiate their own litigation against the

federal government in the Western District of Louisiana and obtaining a preliminary injunction there

enjoining implementation of CDC’s April 1, 2022 order terminating Title 42 suspension orders.

Defendants demonstrated in their opposition to the intervention motion that Proposed Intervenors

lack standing or a legally protected interest in this action, that their intervention motion is untimely,

and that Defendants adequately represent Proposed Intervenors’ interests in this action.

        After the filing of the parties’ opposition briefs, on December 7, 2022, Defendants filed a

Notice informing this Court of their intent to appeal this Court’s November 15, 2022 order and

November 22, 2022 judgment, which vacated CDC’s Title 42 regulation, 42 C.F.R. § 71.40, and orders

issued thereunder. ECF No. 179. The Notice further noted that the Department of Health and

Human Services (HHS) and CDC have decided to undertake notice-and-comment rulemaking to

replace 42 C.F.R. § 71.40. Moreover, Defendants represented that they intend to move the D.C.
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Circuit to hold the appeal in abeyance pending (i) the Fifth Circuit’s decision in Louisiana v. CDC, No.

22-30303 (5th Cir.), the government’s appeal of the preliminary injunction enjoining implementation

of CDC’s Termination Order, and (ii) the forthcoming rulemaking to replace § 71.40. Defendants

also noticed their appeal on the same day. On December 8, 2022, this Court ordered supplemental

briefing in view of Defendants’ Notice.

        Proposed Intervenors have since sought to intervene in the Court of Appeals and a stay

pending appeal. Briefing will be complete in the D.C. Circuit on both of those requests on December

15, 2022. Proposed Intervenors argue in both the Court of Appeals and in their supplemental brief
that this Court no longer has jurisdiction to decide their intervention motion in light of the

government’s appeal. This is an issue on which the D.C. Circuit has not yet opined and the circuits

are split. But this Court need not decide that question because even if the Court concludes that it

lacks authority to grant the intervention because of the pending appeal, Federal Rule of Civil

Procedure 62.1(a)(2) expressly permits the Court to deny the intervention motion on the merits in

such circumstances. The Court should do so promptly so that the Court of Appeals would have the

benefit of the Court’s consideration. Indeed, Defendants have demonstrated in their opposition that

Proposed Intervenors are not entitled to intervention; nor is permissive intervention appropriate. And

as explained below, the developments noted in the government’s Notice further underscore that

Proposed Intervenors lack standing or a legally protected interest in this action and that Defendants

adequately represent Proposed Intervenors’ interests, if any, here.

                                            ARGUMENT

    THIS COURT SHOULD DENY THE STATES’ MOTION TO INTERVENE

        A. Despite the Pending Appeal, this Court Should Deny the Intervention Pursuant
           to Rule 62.1(a)
        Proposed Intervenors argue that in light of the government’s appeal, jurisdiction over their

intervention motion “has been transferred to the D.C. Circuit, and that motion is thus no longer

pending in this Court.” See Proposed Intervenors’ Suppl. Br. at 1; see also Notice, Huisha-Huisha v.

Mayorkas, No. 22-5325 (representing that their motion to intervene is now pending in the Court of

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Appeals “by operation of law”). In support, Proposed Intervenors cite only out-of-circuit authority.

See Proposed Intervenors’ Suppl. Br. at 1–2. But this is an issue on which the circuits are split. See,

e.g., Halderman v. Pennhurst State Sch. & Hosp., 612 F.2d 131, 134 (3d Cir. 1979) (en banc) (notice of

appeal does not deprives the district court of “authority to consider the motion to intervene”); see also

Amarin Pharms. Ireland Ltd. v. Food & Drug Admin., 139 F. Supp. 3d 437, 440–41 (D.D.C. 2015)

(discussing the circuit split). The D.C. Circuit has so far declined to address question. Associated

Builders & Contractors, Inc. v. Herman, 166 F.3d 1248, 1256 (D.C. Cir. 1999) (declining to address the

jurisdictional question and instead affirming the district court’s denial of intervention on the ground
of lack of timeliness).

        This Court need not resolve the question because even if the Court concludes that it lacks

authority to grant the intervention because of the pending appeal, it could still deny the intervention

motion on the merits pursuant to Rule 62.1(a)(2). Rule 62.1(a)(2) provides: “If a timely motion is

made for relief that the court lacks authority to grant because of an appeal that has been docketed and

is pending, the court may: (1) defer considering the motion; (2) deny the motion; (3) state either that

it would grant the motion if the court of appeals remands for that purpose or that the motion raises a

substantial issue.” See, e.g., Out of the Box Enters. v. El Paseo Jewelry Exch., Inc., 737 F. App’x 304, 305

(9th Cir. 2017) (recognizing that although the district court lacked the authority to grant a Rule 60(b)

motion without a remand from the court of appeals due to the pending appeal, “it had jurisdiction to

deny the motion on the merits, defer consideration, or issue an indicative ruling” pursuant to Rule

62.1(a)); Amarin, 139 F. Supp. 3d at 440–41 (issuing an indicative ruling on the issue of intervention

pursuant to Rule 62.1(a)(3) after concluding that the court lacked jurisdiction to grant the motion due

to pending appeal).

        This Court’s denial of the intervention may ultimately facilitate appellate review of the issue.

Among other things, the Court is intimately familiar with this case, including the untimeliness of the

intervention motion. See Defs.’ Opp. at 14–17 (demonstrating that government’s decision not to seek

a stay pending appeal does not justify Proposed Intervenors’ eleventh-hour effort to intervene because

it should have been obvious to Proposed Intervenors for months that the government might not seek
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a stay given CDC’s Termination Order). Indeed, the Court of Appeals’ review of this Court’s

intervention decision would be deferential at least as to factual questions and matters of discretion.

See Defs. of Wildlife v. Perciasepe, 714 F.3d 1317, 1322 (D.C. Cir. 2013); see, e.g., United States v. Brit. Am.

Tobacco Australia Servs., Ltd., 437 F.3d 1235, 1238 (D.C. Cir. 2006) (reviewing district court’s denial of

intervention for untimeliness only for abuse of discretion). Accordingly, for the reasons Defendants

demonstrated in their opposition brief, and the reasons explained below, Defendants respectfully

request that the Court promptly deny Proposed Intervenors’ motion so that the Court of Appeals

would have the benefit of this Court’s consideration.
        B. Proposed Intervenors Lack Standing or Any Legally Protected Interest

        Proposed Intervenors argued in their reply brief that they “have protectable interests in

participating in notice-and-comment rulemaking,” Reply at 8, ECF No. 177—“a right,” they assert,

“they were entitled to exercise before termination of Title 42 and which the Louisiana injunction

protects.” id. at 5. But Proposed Intervenors are protecting their asserted procedural interests by

litigating the notice-and-comment claim in Louisiana v. CDC. The government continues to prosecute

its appeal of the Louisiana injunction. Defendants’ Notice now also makes clear that the government

plans to move the D.C. Circuit to hold the appeal in this case in abeyance pending the Fifth Circuit’s

decision on the government’s earlier-filed appeal of the Louisiana injunction. Thus, any interests

Proposed Intervenors have in ensuring that the government complies with APA’s notice-and-

comment requirements in issuing the Termination Order will be protected through that litigation, not

this one, where neither the Termination Order nor any procedural requirements for its issuance is in

issue. At bottom, this litigation does not “as a practical matter impair or impede [Proposed

Intervenors’] ability to protect [their asserted] interest” in participating in notice-and-comment

rulemaking as to the Terminator Order. Fed. R. Civ. P. 24(a)(2). Proposed Intervenors can fully

protect that asserted interest in the Fifth Circuit.1



1
 Even if HHS and CDC later decide to conduct notice-and-comment rulemaking of the Termination
Order before the conclusion of the appeal or final judgment in Louisiana v. CDC, the States would not

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        The Louisiana preliminary injunction by itself, however, does not give rise to any legally

cognizable interest in protecting Proposed Intervenors’ procedural rights in this case. While the

injunction preliminarily enjoins the government from implementing the Termination Order, it does

not vest in the States any legally protectable interest in the continuation of Title 42. Nor does it take

precedence over relief granted in unrelated litigation concerning different subject matters—here, the

validity of CDC’s Title 42 regulation and suspension orders—and without regard to the Termination

Order.2 Rather, the injunction merely preserves the status quo in Louisiana v. CDC pending the

government’s appeal of that district court’s ruling that CDC likely should have engaged in notice-and-

comment rulemaking when issuing the Termination Order. The States in Louisiana v. CDC no doubt

have the right to enforce that injunction in that case, as Proposed Intervenors sought to demonstrate.

See Pls’ Reply at 6, 8. But as with any litigant seeking to intervene to defend the Title 42 regulation

and orders, Proposed Intervenors must demonstrate that they suffer an injury in fact that is traceable

to the vacatur of the operative Title 42 order (or the underlying regulation), which they have failed to

do. See Defs’ Opp. at 8–14, ECF No. 174.

        Proposed Intervenors’ reliance on cases involving the Anti-Injunction Act is misplaced. See

Pls’ Reply at 3. In National Basketball Ass’n v. Minnesota Professional Basketball, Ltd. Partnership, 56 F.3d

866, 871 (8th Cir. 1995), the Eighth Circuit concluded that “a preliminary injunction is a protectable

judgment under the relitigation exception” in the Anti-Injunction Act. The Act prohibits federal

courts from enjoining proceedings and parties in the state courts, unless one of the Act’s three

enumerated exceptions, including the “relitigation exception,” applies. See id. 28 U.S.C. § 2283 (“A

court of the United States may not grant an injunction to stay proceedings in a State court except …

to protect or effectuate its judgments.”) (emphasis added). The relitigation exception “permit[s] a federal

be able to claim any impairment of their asserted procedural interests because they will have received
all the relief to which they would be entitled if they had prevailed on their notice-and-comment claim.
2
 Even where two cases between the same parties on the same subject matter are commenced in two
different federal courts, the first-filed case may not necessarily take precedence despite considerations
of comity and orderly administration of justice. Handy v. Shaw, Bransford, Veilleux & Roth, 325 F.3d
346, 350 (D.C. Cir. 2003) (“[W]e have emphasized that the district court must balance equitable
considerations rather than using a ‘mechanical rule of thumb.’”) (citation omitted).
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court to prevent state litigation of an issue that previously was presented to and decided by the federal

court.” Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 147(1988). In concluding that this statutory

exception was implicated by a preliminary injunction issued by a federal court, the Eighth Circuit

reasoned that a preliminary injunction is an immediately appealable “judgment” under Fed. R. Civ. P.

54(a) and “confers important rights and finally adjudicates the issue of preserving the status quo until

the district court reaches the case’s merits.” Nat’l Basketball Ass’n, 56 F.3d at 871.

        National Basketball Association does not suggest that the Louisiana preliminary injunction gives

Proposed Intervenors a legally protected interest in this litigation. No statutory rights granted by the
Anti-Injunction Act are in issue, and this case does not “relitigate” the States’ notice-and-comment

challenge to the Terminator Order, upon which the Louisiana preliminary injunction is issued. Rather,

two federal courts are addressing two distinct challenges to two distinct agency actions. The context

in which the Eighth Circuit observed that a preliminary injunction confers “important rights,” see Pls’

Reply at 3 (quoting NBA, 56 F.3d at 871), shows that the observation is wholly irrelevant here. It is

therefore not surprising that Proposed Intervenors cite no authority establishing that they have a

protectable legal interest in this litigation based on the Louisiana injunction.

        Nor have Defendants “admitted that the termination of the Title 42 system will cause the

States harms,” as Proposed Intervenors claim. Proposed Intervenors’ Suppl. Br. at 3. Defendants

have consistently maintained that the States lack standing to challenge the termination of CDC’s Title

42 orders and suffer no legally cognizable harm from termination of those orders. See Defs.’ Opp. to

States’ Mot. for Prelim. Inj. 11–15, Louisiana v. CDC, No. 22-cv-00885 (W.D. La. Apr. 29, 2022), ECF

No. 40 (arguing that States “lack[ed] standing to challenge the Termination Order” because they could

not establish injury-in-fact or traceability). While the Louisiana district court disagreed with the

government and held that the States had shown a substantial likelihood of standing, the court relied

on Fifth Circuit precedent that, as Defendants have explained, it is inconsistent with the Supreme

Court’s standing jurisprudence. See Defs.’ Opp. to Mot. to Intervene at 10–11, ECF No. 174.

Accordingly, it remains the case that the Proposed Intervenors lack standing or any legally protected

interest in this action.
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        C. Defendants Adequately Represent Any Interests That Proposed Intervenors Might
           Have in This Litigation
        The Court should reject Proposed Intervenors’ contention that the government does not

adequately represent their alleged interests. In their motion to intervene, the States contended that

their participation in this litigation was necessary because the government purportedly had

“abandoned their defense of Title 42,” ECF No. 168 at 1, and was not going to “prosecute [an] appeal”

of this Court’s rulings, id. at 16. But the government has filed a notice of appeal, and the government’s

longstanding position in this litigation remains unchanged: “CDC’s Title 42 Orders were lawful, . . .

§ 71,40 is valid, and . . . this Court erred in vacating those agency actions.” ECF No. 179 at 1.
        The government’s decision to seek a five-week stay of this Court’s judgment to allow the

Department of Homeland Security time to prepare to implement full Title 8 processing—rather than

an indefinite stay pending appeal—does not render the government’s representation inadequate. See

Jones v. Prince George’s Cnty., Maryland, 348 F.3d 1014, 1020 (D.C. Cir. 2003) (disagreement over litigation

approach does not demonstrate inadequate representation). In light of the CDC’s April 1 decision to

terminate the Title 42 orders as no longer necessary to protect the public health, the government

would have been unable to show the kind of irreparable injury from this Court’s judgment that would

have been necessary to seek a full stay pending appeal. Moreover, in its memorandum opinion and

order, this Court stated that it would deny any request for a stay pending appeal, so it would have been

futile for the government to seek such a stay from this Court. ECF No. 164. The government’s

decision not to seek an emergency stay from the D.C. Circuit likewise does not constitute

“abandon[ment]” of the government’s defense in this case. ECF No. 168 at 1. A stay pending appeal

is an “extraordinary remedy” that is not sought as a matter of course. Cuomo v. U.S. Nuclear Regul.

Comm’n, 772 F.2d 972, 978 (D.C. Cir. 1985). Indeed, the government did not seek a stay from the

Fifth Circuit when it appealed the Louisiana injunction, and yet the States expressly agreed that the

government adequately represented the interests of a proposed intervenor in that case who had sought

a stay pending appeal. See States’ Br. at 111, Louisiana v. CDC, No. 22-30303 (5th Cir. Aug. 31, 2022).

        The States also contend that the government does not adequately represent their alleged

interests because the government plans to move to hold the appeal in abeyance pending (i) the Fifth
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Circuit’s decision in Louisiana v. CDC, No. 22-30303 (5th Cir.) and (ii) the forthcoming rulemaking to

replace § 71.40. Proposed Intervenors’ Suppl. Br. at 3. As explained above, the government’s intent

to move to hold the appeal in the D.C. Circuit in abeyance pending the Fifth Circuit’s decision in

Louisiana v. CDC actually allows the States to fully litigate their notice-and-comment claim; they don’t

need the government to protect that asserted procedural interests here. To the extent the government

is seeking an abeyance also because of HHS and CDC’s intent to conduct rulemaking, that is not

unusual because further regulatory developments could render further litigation unnecessary. See ECF

No. 179 at 2 (collecting cases). The government’s decision to follow that standard litigation practice
here does not mean that the States should be permitted to intervene to pursue a different course in

the Court of Appeals. Granting the motion “would allow a third party to intervene not because an

agency failed to move for additional review, but because the agency failed to move for review in the

third party’s preferred way.” Humane Soc’y v. Dep’t of Agric., --- F.4th ----, 2022 WL 17411257 at *2

(D.C. Cir. 2022) (Tatel, J., concurring).

        As the government has explained, Proposed Intervenors are not proper litigants to defend an

arbitrary-and-capricious challenge to a federal agency’s decisionmaking. Congress has charged CDC

to carry out Title 42’s statutory mission of protecting the public health. And Congress has reserved

the control of litigation in which the United States or its agencies and officers are parties to the

Department of Justice alone. ECF No. 174 at 17–18. In determining whether, and to what extent,

appeals will be taken by the government, the Solicitor General, with her “broader view of litigation in

which the Government is involved,” considers a number of strategic and other factors that are

uniquely within the government’s expertise and statutory responsibilities. See Fed. Election Comm’n v.

NRA Pol. Victory Fund, 513 U.S. 88, 96 (1994); see also 28 C.F.R. § 0.20(b). Permitting third parties

such as the States to intervene and defend the reasonableness of the government’s regulations and

orders in cases such as this one would encroach on the government’s significant interests in

coordinating its litigation involving important federal policies. See ECF No. 174 at 17–18. Indeed,

the government’s intent to first prosecute the appeal of the Louisiana injunction in the Fifth Circuit


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reflects that the government is weighing litigation on Title 42 wholistically to advance important

statutory interests. Proposed Intervenors should not be permitted to upset that approach.

                                        CONCLUSION

       For the foregoing reasons, the Court should deny Proposed Intervenors’ motion to intervene.


 Dated: December 16, 2022                            Respectfully submitted,

 MATTHEW M. GRAVES, D.C. Bar. #481052                BRIAN M. BOYNTON
 United States Attorney                              Principal Deputy Assistant Attorney General

 BRIAN P. HUDAK                                      JEAN LIN
 Chief, Civil Division                               Special Litigation Counsel, NY Bar #4074530
                                                     Federal Programs Branch
 SEAN M. TEPE, DC Bar #1001323
 Assistant United States Attorney                    /s/ John Robinson
 601 D Street, N.W.                                  JOHN ROBINSON, DC Bar #1044072
 Washington, D.C. 20530                              Trial Attorney
 Phone: (202) 252-2533                               U.S. Department of Justice
 Email: sean.tepe@usdoj.gov                          Civil Division, Federal Programs Branch
                                                     1100 L Street N.W.
                                                     Washington, DC 20530
                                                     Tel (202) 616-8489
                                                     Email: john.j.robinson@usdoj.gov

                                                     Counsel for Defendants




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